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 1    RICHARD MAC BRIDE, SB# 199695
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      Attorney for Plaintiff Richard Sepulveda
 5
 6                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 7    _____________________________________
                                                    ) Case Number 21-6539 LB
 8                                                  )
      Richard Sepulveda,
                                                    )
 9                                                  )
                      Plaintiff,                    )
10    Vs.                                           ) NOTICE OF VOLUNTARY DISMISSAL
                                                    )
11
      Jim’s Coffee Shop individually and dba Jim’s ))
12    Homestyle Diner, et al.,                      )
                                                    )
13                        Defendants.               )
                                                    )
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15
     Plaintiff Richard Sepulveda, through his attorney of record, Richard A. Mac Bride, hereby provides
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     notice of voluntary dismissal with prejudice of this matter with respect to all defendants and all
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     causes of action, and requests that the clerk of the Court enter the appropriate notation on the
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     Court’s docket. The defendants have not filed a responsive pleading.
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20
     Law Offices of Richard A. Mac Bride
21
     By: Richard A. Mac Bride /s/ Richard A. Mac Bride
22
     Attorney for Plaintiff Richard Sepulveda
23
     January 15, 2022
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     ___________________________________________________________________________________________________________


     NOTICE OF VOLUNTARY DISMISSAL – 21-6539 LB
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